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                                                                                                      Central District of California
                     6                                                                                BY kaaumoanDEPUTY CLERK


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                                                                                            CHANGES MADE BY COURT
                     8                                 UNITED STATES BANKRUPTCY COURT
                     9                                   CENTRAL DISTRICT OF CALIFORNIA
                    10                                            LOS ANGELES DIVISION
                    11

                    12    In re:                                                      Case No. 2:19-bk-14989-WB
                                                                                      Jointly Administered:
                    13             SCOOBEEZ, et al.1,                                 2:19-bk-14991-WB, and 2:19-bk-14997-WB

                    14                                                                Chapter 11
                                           Debtors and Debtors in
                    15                     Possession.                                ORDER CONTINUING HEARINGS ON
                                                                                      MOTION RE AUTOMATIC STAY AND
                    16    Affects:                                                    CHAPTER 11 STATUS CONFERENCE
                          ■ All Debtors
                    17    □ Scoobeez, ONLY                                              Current hearing
                          □ Scoobeez Global, Inc., ONLY                                 Date:     December 11, 2019
                    18    □ Scoobur LLC, ONLY                                                     January 16, 2020
                    19                                                                  Time:     10:00 a.m.
                                                                                        Place.:   United States Bankruptcy Court
                    20                                                                            Edward Roybal Federal Building
                                                                                                  255 E Temple St., Ctrm 1375
                    21                                                                            Los Angeles CA 90012
                    22                                                                Continued hearing
                                                                                      Date:     February 25, 2020
                    23                                                                Time:     10:00 a.m.
                                                                                      Place.:   United States Bankruptcy Court
                    24                                                                          Edward Roybal Federal Building
                                                                                                255 E Temple St., Ctrm 1375
                    25                                                                          Los Angeles CA 90012
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                          1
                            The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows:
                    27    Scoobeez (6339); Scoobeez Global, Inc. (9779); and, Scoobur, LLC (0343). The Debtors’ address is 3463 Foothill
                          Boulevard, in Glendale, California 91214.
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 BOCKIUS LLP             DB2/ 38079565.1
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   COSTA MESA
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                     1

                     2             The parties having stipulated thereto [at Docket No. 543], and good cause appearing

                     3    therefore,

                     4             IT IS HEREBY ORDERED that:

                     5             1.      The hearing on Amazon Logistics, Inc.’s motion regarding the automatic stay

                     6    (Docket No. 393) (the “Stay Relief Motion”) and the chapter 11 status conference in this

                     7    bankruptcy case be continued to February 25, 2020, at 10:00 a.m., in Courtroom 1375 of this

                     8    Court; and

                     9             2.      Each of Amazon Logistics, Inc., Scoobeez, Hillair Capital Management, LLC and

                    10    the Official Committee of Unsecured Creditors may file supplemental papers providing the Court

                    11    with the results of the discovery undertaken in connection with the Stay Relief Motion on or

                    12    before February 18, 2020.

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                    24   Date: January 15, 2020

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